Case 2:15-cv-04482-MWF-E Document 1-1 Filed 06/12/15 Page 1 of 16 Page ID #:6




                             EXHIBIT A
Case 2:15-cv-04482-MWF-E Document 1-1 Filed 06/12/15 Page 2 of 16 Page ID #:7
Case 2:15-cv-04482-MWF-E Document 1-1 Filed 06/12/15 Page 3 of 16 Page ID #:8
Case 2:15-cv-04482-MWF-E Document 1-1 Filed 06/12/15 Page 4 of 16 Page ID #:9
Case 2:15-cv-04482-MWF-E Document 1-1 Filed 06/12/15 Page 5 of 16 Page ID #:10
Case 2:15-cv-04482-MWF-E Document 1-1 Filed 06/12/15 Page 6 of 16 Page ID #:11
Case 2:15-cv-04482-MWF-E Document 1-1 Filed 06/12/15 Page 7 of 16 Page ID #:12
Case 2:15-cv-04482-MWF-E Document 1-1 Filed 06/12/15 Page 8 of 16 Page ID #:13
Case 2:15-cv-04482-MWF-E Document 1-1 Filed 06/12/15 Page 9 of 16 Page ID #:14
Case 2:15-cv-04482-MWF-E Document 1-1 Filed 06/12/15 Page 10 of 16 Page ID #:15
Case 2:15-cv-04482-MWF-E Document 1-1 Filed 06/12/15 Page 11 of 16 Page ID #:16
Case 2:15-cv-04482-MWF-E Document 1-1 Filed 06/12/15 Page 12 of 16 Page ID #:17
Case 2:15-cv-04482-MWF-E Document 1-1 Filed 06/12/15 Page 13 of 16 Page ID #:18
Case 2:15-cv-04482-MWF-E Document 1-1 Filed 06/12/15 Page 14 of 16 Page ID #:19
Case 2:15-cv-04482-MWF-E Document 1-1 Filed 06/12/15 Page 15 of 16 Page ID #:20
Case 2:15-cv-04482-MWF-E Document 1-1 Filed 06/12/15 Page 16 of 16 Page ID #:21
